Case 3:07-cr-30136-DRH-PMF     Document 222        Filed 04/02/09     Page 1 of 1   Page
                                    ID #526



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

SERGIO A. VALLES, JR.,

Defendant.                                                  No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Now before the Court is the Government’s Motion to Continue Change

of Plea Date (Doc. 220). The Government requests a continuance because counsel

was unexpectedly assigned to another case and has not had the opportunity to

prepare the necessary plea documents in the above captioned case. Defense counsel

has no objection to the continuance. Based on the reasons set forth in the motion,

the Court GRANTS the Government’s motion to continue (Doc. 220) and

CONTINUES the Change of Plea Hearing set for April 3, 2009 until Wednesday,

April 8, 2009 at 10:00 a.m.

             IT IS SO ORDERED.

             Signed this 2nd day of April, 2009.



                                            /s/       DavidRHer|do|
                                            Chief Judge
                                            United States District Court
